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SMU MEM UT er mCem CCAR Zell met: toh

United States Bankruptcy Court for the:

Middle District of Florida

Case number (if known):

Chapter you are filing under:
Chapter 7
QO Chapter 14
QO Chapter 12
O Chapter 13

 

 

C) Check if this is an
amended filing

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

 

The bankruptcy forms use you and Debfor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

Part 4: | identify Yourself

. Your full name

Write the name that is on your

government-issued picture
identification (for example,
your driver's license or
passport).

Bring your picture

identification to your meeting

with the trustee.

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
Thomas

First name First name

Hadley

Middle name Middle name

Baker

Last name Last name

Suffix (Sr., Jr., HE Ul)

 

Suffix (Sr., Jr., Ih 1B

 

All other names you
have used in the last 8

 

 

 

 

 

 

 

 

First name First name
years
include your matried or Middle name Middle name
maiden names.

Last name Last name

First name First name

Middie name Middie name

Last name Last name
Only the last 4 digits of
your Social Security wx - xx -_ 6 0 9 7 RK RK me
number or federal OR OR
Individual Taxpayer 9 9
identification number XX — XX — XX = XX

(ITIN)

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Debtor 1

Thomas Hadley Baker

 

First Name Middle Name

Last Name

Case number (if known).

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

 

 

(i t have not used any business names or EINs.

 

Business name

 

EIN

EIN

Business name

ETE

(Spouse Only in a Joint Case):

 

CI] | have not used any business names or EINs.

 

= Business name

 

Business name

EIN ~~

 

5. Where you live

9601 Marblehead Lane

If Debtor 2 lives at a different address:

 

 

 

 

 

 

 

 

 

Number Street Number Street

New Port Richey Fi 34654

City State ZIP Code . City State ZIP Code
Pasco

County ~ County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

 

If Debtor 2’s mailing address is different from

- yours, fill it in here. Note that the court will send

any notices to this mailing address.

 

 

 

 

 

 

Number Street . Number Street

P.O. Box = P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

Yi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(] | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

C] Over the last 180 days before filing this petition,

| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 2

 
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Debtor 1 Thomas Hadley Baker Case number (i known),
First Name Middie Name Last Name
ee Tell the Court About Your Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
: Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under Z Chapter 7

(J Chapter 14
Cl) Chapter 12
C) Chapter 13

 

8. How you will pay the fee 1 will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

CI I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in installments (Official Form 103A).

C1 request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

- 9. Have you filed for i No
: bankruptcy within the
last 8 years? Cl Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DDIYYYY
District When Case number
MM/ DD/YYYY
' 10. Are any bankruptcy I No
cases pending or being
filed by a spouse who is C) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known,
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known,
MM/DD/YYYY
41. Do you rent your Wino. Gotoline 12.
_ ‘residence? CJ Yes. Has your landlord obtained an eviction judgment against you?

C1 No. Go to line 42.

LJ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 1 Thomas Hadley Baker Case number (if known),

 

First Name Middle Name

Last Name

 

Ey Report About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor
i of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
: separate sheet and attach it
! to this petition.

i No. Go to Part 4.

(J Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State ZIP Code

Check the appropriate box to describe your business:
() Health Care Business (as defined in 11 U.S.C. § 101(27A))
CJ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))
UL] Commodity Broker (as defined in 11 U.S.C. § 101(6))

_ (1 None of the above

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small
business debtor, see
11 U.S.C. § 101(51D).

 

if you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it
can set appropriate deadlines. |f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Q1No. | am not filing under Chapter 11.

CI No. lam filing under Chapter 11, but lam NOT a small business debtor according to the definition in
the Bankruptcy Code.

CJ Yes. lam filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Part a: | Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

Official Form 101

ZI No
UL) Yes. What is the hazard?

 

 

lf immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

 

City State ZIP Cade

Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1

First Name

| Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling

45. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

 

Official Form 101

About Debtor.1:

Thomas Hadley Baker

Middle Name

Last Name

 

 

You must check one:

Wt received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CI I received a briefing from an approved credit

counseling agency within the 180 days before !

filed this bankruptcy petition, but ido not havea |

certificate of completion.

Within 14 days after you file this bankruptcy petition, -
you MUST file a copy of the certificate and payment —

plan, if any.

L) i certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CL) | am not required to receive a briefing about

credit counseling because of:

O Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

L] Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after [

reasonably tried to do so.

C) Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

 

Case number (if known),

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

Cl | received a briefing from an approved credit
counseling agency within the 180 days before !
filed this bankruptcy petition, and 1 received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CJ I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but I do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

 

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CL) lam not required to receive a briefing about
credit counseling because of:

C) Incapacity. { have a menial illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

U] Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried fo do so.

C] Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

 
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Debtor 4 Thomas Hadley Baker

First Name Middle Name

Eo Answer These Questions for Reporting Purposes

Last Name

Case number (if known),

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

(J No. Go to line 16b.
{Q Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

{Zl No. Go to line 16c.
C) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

 

CJ No. | am not filing under Chapter 7. Go to fine 18.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

estimate your assets to
be worth?

 

C2 $50,001-$100,000
{4 $100,001-$500,000
CJ $500,001-31 million

CJ $10,000,001-$50 million
CI $50,000,001-$100 million
CJ $100,000,001-$500 million

excluded and WI No
administrative expenses
are paid that funds will be Cl Yes
available for distribution
to unsecured creditors?
1s. How many creditorsdo 1 1-49 (2 1,000-5,000 LJ 25,001-50,000
you estimate that you C] 50-99 LJ 5,001-10,000 (J 50,001-100,000
owe? (1) 100-199 CL} 10,001-25,000 C) More than 100,000
L) 200-999
49, How much do you C) $0-$50,000 LJ $1,000,001-$10 million CD $500,000,001-$1 billion

(} $1,000,000,001-$10 billion
(-] $10,000,000,001-$50 billion
(J More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Sign Below

For you

 

C) $0-$50,000

CJ $50,001-$100,000
W $100,001-3500,000
() $800,001-$1 million

() $1,000,001-$10 million

(2 $10,000,001-$50 million
(I $50,000,001-$100 million
CJ $100,000,001-$500 million

(2 $500,000,001-$1 billion

€] $1,000,000,001-$10 billion
C] $10,000,000,001-$50 billion
C) More than $50 billion

| have examined this petition, and I declare under penalty of perjury that the information provided is true and

correct.

lf i have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

X /s/ Thomas Hadley Baker

x

 

Signature of Debtor 1
Executed on 06/27/2019

 

Signature of Debtor 2

Executed on

MM / DD /YYYY

MM / DD /YYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 6

 
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Debtor 1

Thomas Hadley Baker

Case number (if known).

 

First Name

Middle Name

Last Name

 

 

For your attorney, if you are
represented by one

If you are not represented
by an attorney, you do not
need to file this page.

 

Official Form 101

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

06/27/2019
DD /YYYY

X /s/ Matt Holtsinger Date

Signature of Attorney for Debtor MM /

 

Matt Holtsinger

Printed name

Rywant, Alvarez, Jones, Russo & Guyton, P.A.

Firm name

109 N. Brush Street, Suite 500

Number Street

 

 

33602
ZIP Code

Tampa Fl
City State

 

Contact phone (813) 229-7007 Email address Nholtsinger@rywantalvarez.co

 

092774 Fl

Bar number

State

Voluntary Petition for Individuals Filing for Bankruptcy page 7

 
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Debtor 1 Thomas Hadley Baker Case number (if known).

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

if you are represented by ;
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

CO) No

(2 Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned? ,

C) No

QO) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
C] No

LI) Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

 

 

 

 

 

 

x x
Signature of Debtor 1 Signature of Debtor 2
Date Date
: MM/DD /YYYY MM/ DD /YYYY
| Contact phone Contact phone
Cell phone Cell phone
Email address Email address

 

 

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Fill in this information to identify your case:

Debtor 1 Thomas Hadley Baker

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

 

{If known)

 

amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. Fill out alf of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

} Part 4: | Summarize Your Assets

 

Your assets Q
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
3 160,000.00
1a. Copy line 55, Total real estate, from Schedule A/B . —_—o

4b. Copy line 62, Total personal property, from Schedule A/B.o..ccsssssscssescsesescesessscsssscavecsuccsnesesucessscsavecsucesersssevecevsseesecseees $ 17,466.00

Case number C) Check if this is an

 

ic. Copy line 63, Total of ail property on Schedule A/B ....

3__ 177,466.00

 

 

 

| Part 2: Summarize Your Liabilities

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D $

176,335.03

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

0.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/P oo... sc sssssecsscseseseseessssseses $__SS

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule EAP uu... ees ceeeenseteeeneeeeee + 5 117,123.07

 

 

 

 

 

Your total liabilities $ 293,458.10
| Part 3: | Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061) 140.00
Copy your combined monthly income from fine 12 Of SCHECUIE 1a... tect esssctceesnseecensesceseesensaveeesansaseasesneesceeeaneaeceseaneaaens $ -
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of Schedule Jo... eccessessssessssnseneeneesesssseessacssscesseenssessussssersracseeeansneceaseeseeensaseoes $ ___73,057.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 10 of 67

Debtor 1 Thomas Hadley Baker Case number (i known)

 

First Name Middle Name Last Name

Answer These Questions for Administrative and Statistical Records

 

 

 

 

 

 

 

 

 

     

 

 

 

 

 

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
() No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
wi Yes
7. What kind of debt do you have?
i Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
C] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.
8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 139.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
- Total claim
rom Part 4 on Schedule E/F. copy the following:
9a, Domestic support obligations (Copy line 6a.) ; §, 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) § 0.00
9d. Student loans. (Copy line 6f.) 5 74,309.15
9e. Obligations arising out of a separation agreement or divorce that you did not report as § 0.00
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +§ 0.00
9g. Total. Add lines 9a through 9f. $ 74,309.15
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 11 of 67

Fill in this information to identify your case and this filing:

pebtor1 Thomas Hadley Baker

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middie District of Florida

Case number

 

(] Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

(CJ No. Go to Part 2.
wi Yes. Where is the property?

i ?
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

od Single-family home . the amount of any secured claims on Schedule D:

11. ° 2322 E. 10th Street Creditors Who Have Claims Secured by Property.

C2 buptex or multi-unit buildin
Street address, if available, or other description p ult t 9

 

 

 

 

 

 

 

CJ Condominium or cooperative Current value of the Current value of the
C2 Manufactured or mobile home entire property? portion you own?
C) Land $ 160,000.00 160,000.00
CL) Investment property
Cheyenne WY__ 82001 (J Timeshare Describe the nature of your ownership
City State ZIP Code QO oth interest (such as fee simple, tenancy by
ther the entireties, or a life estate), if known.
i i ? .
Who has an interest in the property? Check one. fee simple
Laramie (A debtor 1 only
County CD Debtor 2 only
O Debtor 1 and Debtor 2 only C) Check if this is community property

see instruction
() At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

lf you own or have more than one, list here:

i ?
What Is the property? Check ail that apply. Do not deduct secured claims or exemptions. Put
C] Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

4.2. oO Duplex or multi-unit buildin Creditors Who Have Claims Secured by Property.
Street address, if available, or other description p . "9 sssseanane cae
CY Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? portion you own?
C) Land $ $
CJ investment property ; ;
On Describe the nature of your ownership
City State ZIP Code Timeshare interest (such as fee simple, tenancy by
C} Other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.
CQ Debtor 1 only
C) Debtor 2 only

() Debtor 1 and Debtor 2 only C] Check if this is community property
(2 At least one of the debtors and another (see instructions)

 

 

County

Other information you wish to add about this item, such as focal
property identification number:

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 1

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 12 of 67

 

 

 

 

 

 

 

 

 

Debtor 1 Thomas Hadley Baker Case number (if known)
First Name Middle Name Last Name
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
C] Single-family home the amount of any secured claims on Schedule D:
1.3. Creditors Who Have Claims Secured by Property.
Street address, if available, or other description C) Duplex or multi-unit building soir :
( Condominium or cooperative Current value of the Current value of the |
. entire property? portion you own?
(2 Manufactured or mobile home
C2 Land $ $
C) investment property
City State ZIP Code ©) Timeshare Describe the nature of your ownership
oO interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

 

 

Who has an interest in the property? Check one.
CQ Debtor 4 only

 

 

 

County CY Debtor 2 only
C] Debtor 1 and Debtor 2 only CD check if this is community property
CJ At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 160,000.00
you have attached for Part 1. Write that number here. ..............scccccsessesceseeensnsvccesencneeneeeesensesensessuestetenenenaesegenses > - eT

 

 

 

 

ae Describe Your Vehicles

Do you own, lease, or have legal or equitabie interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3, Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

 

 

CQ) No
Wl Yes
3.4. Make: Ford Who has an interest in the property? Check one. —_O not deduct secured claims or exemptions. Put
F-150 Ww Debtor 1 ont the amount of any secured claims on Schedule D:
Model: - ebtor 1 only Creditors. Who Have Claims Secured by Property.
Year: 2011 Fy eben 2 onl Current value of the Current value of the
80000 U1 Debtor + and Debtor 2 only entire property? portion you own?
Approximate mileage: T-™** CJ At least one of the debtors and another Property P ¥
Other information: 43.000.00 43.000.00
. C) check if this is community property (see $ . - $. . —
voluntarily surrendered instructions) :
If you own or have more than one, describe here:
3.2. Make: Triumph Who has an interest in the property? Check one. —_ not deduct secured claims or exemptions. Put
" the amount of any secured claims on Schedule D:
Model: Tiger 800xc a Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2012 Debior 2 only Current value of the Current value of the
"25000 (J Debtor 1 and Debtor 2 only entire property? portion you own? :
Approximate mileage: SY™*™* CI At least one of the debtors and another : : :
Other information: 2 500.00 2 500.00
” J CJ check if this is community property (see $ Ln §. ———_
hole in engine case caused instructions)
Lby-chain-breaking

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 2
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 13 of 67

Thomas Hadley Baker

 

 

 

 

 

Debtor 1 Case number (if known),
First Name Middle Name Last Name
3.3, Make: Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put
() Debtor 1 ont the amount of any secured claims on Schedule D: -
Model: edtor | only Creditors Who Have Claims Secured by Property.
Year. C) Debtor 2 only ee :

Approximate mileage:

Other information:

 

 

 

Make:
Model:

3.4.

Year:
Approximate mileage:

Other information:

 

 

 

 

 

C) Debtor 1 and Debtor 2 only
() At least one of the debtors and another

C} Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CI Debtor 1 only

CL) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CL) At least one of the debtors and another

CI check if this is community property (see
instructions)

Current value of the Current value of the

entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property.

 

 

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

i No

QC Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

 

 

 

 

Who has an interest in the property? Check one.
QO) debtor 1 only:

CI Debtor 2 only

CQ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

C) Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the Current value of the

entire property? portion you own?

 

 

 

4.2. Make: Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put
Q] Debtor 1 ont the amount of any secured claims on Schedule D:
Model: O ebtor 7 only Creditors Who Have Claims Secured by Property.
Debtor 2 only ree :
Year: :
C) Debtor 4 and Debtor 2 only Current value of the rurrent value of the ;
Other information: (J At least one of the debtors and another proper'y* P y :
C] check if this is community property (see $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 5 15,500.00
you have attached for Part 2. Write that number here > P-_

 

 

Official Form 106A/B

Schedule A/B: Property

 

 

   

page 3

 
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Debtor 1 Thomas Hadley Baker Case number (if known),

 

 

First Name Middle Name Last Name

| Part 3: | Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

 

 

 

 

 

 

 

 

 

ONo
Yes. Describe......... Two recliners, end table, kitchen utensils, plates, and silverware $ 275.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
C) No
Wd Yes. Desaribe........ TV, computer, printer, digital camera, cell phone, laptop $ 410.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
CJ No
14 Yes. Describe.......... Framed picture 5 75.00

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

CQ) No

 

\ Yes. Describe... carpentry tools, exercise bike, automotive tools

 

$ 750.00

 

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

\4 No

 

CU) Yes. Describe..........

 

 

 

.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

CI No .

1

=

 

2 Yes. Describe.......... every day clothes

 

§ 100.00

 

 

12, Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

C3 No

 

{4 Yes. Describe.......... casio watch

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

i No

 

CQ) Yes. Deseribe..........

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

WA No

 

C Yes. Give specific
information. .............

 

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here vase >

$ 25.00

 

 

$ 1,635.00

 

 

Official Form 106A/B Schedule A/B: Property

page 4

 
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Thomas Hadley Baker

Middle Name

Ca Describe Your Financial Assets

Debtor 1 Case number (if known),

 

First Name Last Name

 

 

Do you own or hat

   

 

   

) any legal or equitable interest in any of the following?

 

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions. :

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
C) No
Yes CASH! ween teeaees $ 31.00
17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. if you have multiple accounts with the same institution, list each.
CI No
Yes oo eceeeeen Institution name:
17.1. Checking account: T.D. Bank $ 200.00
17.2. Checking account: $
17.3. Savings account: Capital One $ 0.00
17.4, Savings account: $_
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8, Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
J No
i ee Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
4 No Name of entity: % of ownership:
Cl Yes. Give specific 0% %
information about 0
them 0% % $
a,
Official Form 106A/B Schedule A/B: Property page 5

 
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Debtor1 Thomas Hadley Baker Case number (irknown)

 

 

First Name Middle Name Last Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Zi No

C) Yes. Give specific Issuer name:
information about

 

 

 

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WZ No
Q) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

\4 No

CD Ves occ Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Wi No
7 Issuer name and description:
$
$

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 6
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 17 of 67

Debtor1 Thomas Hadley Baker Case number (known)

First Name Middle Name Last Name

 

 

 

 

24. Interests in an education IRA, in an account ina qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

       

Wi No
ON institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
5
$.
$
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
WZ No
CL) Yes. Give specific
information about them.... $
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements
OQ No
Yes. Give specific Wi i j i
. oming adjuster license
information about them.... y g ac $ 100.00
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
Wd No
C) Yes. Give specific
information about them.... $
Money or property owed to you? Current value of the
: : es “portion you own?
Do not deduct secured

 

claims or exemptions.

28. Tax refunds owed to you

W No

Q] Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years... eceeeee

 

Federal:

Local:

 

 

 

_ 29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

WI No

 

 

 

 

 

L) Yes. Give specific information..............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $.
Property settlement: $

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
J No
CJ Yes. Give specific information...............
$

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 18 of 67

Debtor 1 Thomas Hadley Baker Case number (if known),

First Name Middle Name Last Name

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

Wi No

C] Yes. Name the insurance company Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

Wd No

CQ) Yes. Give specific information..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

2 No

C2 Yes. Describe each claim. on cceenen

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

Wa No

CU Yes. Describe each claim. wee.

 

 

 

 

35. Any financial assets you did not already list

No
Cl Yes. Give specific information............ $

 

 

 

 

_ 36, Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here > Is 331.00

 

 

 

 

Ca Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

 

37.Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
O) Yes. Go to line 38.

 

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions.
38. Accounts receivable or commissions you already earned
C) No
UO) Yes. Describe....... ,

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

QO) No
C) Yes. Describe....... 5

 

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
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Debtor1 thomas Hadley Baker

 

First Name

QI No

Middie Name

40, Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

Case number (i known),

 

C} Yes. Describe.......

41. Inventory

2 No

 

 

QC) Yes. Describe....... ,

 

 

) No
CJ Yes. Describe.......

C} No

QO No

Ci No

CO Yes. Give specific
information .........

42. Interests in partnerships or joint ventures

 

 

 

43. Customer lists, mailing lists, or other compilations

C) Yes. Describe........

 

 

 

 

44. Any business-related property you did not already list

 

 

 

 

 

 

for Part 5. Write that number here

 

 

 

S$
Name of entity: % of ownership:

$

% $

% 3.

UI Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

5
$
$
$
$
$
§
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

GA No. Go to Part 7.
Cl Yes. Go to line 47.

47. Farm animals

Examples: Livestock, poultry, farm-raised fish

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

 

 

 

 

 

Current value of the
portion you own?

Do not deduct secured claims
or.exemptions.

 

Official Form 106A/B

Schedule A/B: Property

page 9

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 20 of 67

Debtor 1 Thomas Hadley Baker Case number (if known),

First Name Middle Name Last Name

 

48. Crops—either growing or harvested

UC) No

 

L) Yes. Give specific
information. ............

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

C2 No

 

 

 

 

 

 

 

51.Any farm- and commercial fishing-related property you did not already list

( No

 

CJ Yes. Give specific
information. ............

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here >

 

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

W No

C] Yes. Give specific
information. ............

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ” »

 

 

 

 

 

 

List the Totals of Each Part of this Form

 

 

 

 

 

 

 

 

 

 

 

 

 

55. Part 1: Total real estate, line 2 » | 160,000.00
56. Part 2: Total vehicles, line 5 $ 15,500.00 a
57.Part 3: Total personal and household items, line 15 $. 1,635.00
58. Part 4: Total financial assets, line 36 $. 331.00
59. Part 5: Total business-related property, line 45 $. 0.00
60, Part 6: Total farm- and fishing-related property, line 52 $. 0.00
61. Part 7: Total other property not listed, line 54 +S 0.00
62. Total personal property. Add lines 56 through 61. .............. $ 17,466.00 Copy personal property total > + $ 17,466.00
63. Total of all property on Schedule A/B. Add fine 55 + line 62... ee ceesecceeeeeseeeeesaseeeerenseeceasssesaeensesenasesecesanesesentenee 177,466.00
Official Form 106A/B Schedule A/B: Property page 10

 

 
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Fill in this information to identify your case:

Debtor 4 Thomas Hadley Baker

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number CJ] Check if this is an
{if known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 0419

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

 

| Part 4: | identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

CJ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
(i You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief... Triumph Tiger 800xc_ $2,500.00 Wis 4,000.00 11 U.S.C. Section 522(d)(2)
description: and 522(d)(5)
Line from (2 100% of fair market value, up to
Schedule A/B: 3-2 any applicable statutory limit
escription: Household goods $275.00 Ws 275.00 11 U.S.C. Section 522(d)(3)
. CY 100% of fair market value, up to
Sore APB: 36 _ any applicable statutory limit
Brief . ;
description, Electronics $410.00 i s 410.00 11 U.S.C. Section 522(d)(5)
Line from QO) 100% of fair market value, up to

Schedule A/B: 3.7 any applicable statutory limit

_ 3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
wf No
Cl Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
QO) No
) Yes _

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 22 of 67

Debtor 4 Thomas Hadley Baker

 

First Name

rar 2: Page

scription of the property and line
on Schedule A/B that lists this property ~

 

Middle Name

  

Last Name

Current value of the
portion you own

 

Case number (i known),

 

 

mount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy.the value from Check only.one box for each exemption 2
Schedule A/B : : oe S
ie ption:  -Efamed Picture § 75.00 Ws 75.00 11 U.S.C. Section 522(d)(3)
Line from 3.8 LI 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief 11 U.S.C. Section 522(d)(5)
tian: Carpentry tools 250.00 250.00 .

description: . ids , and 11 U.S.C. Section 522
Line from () 100% of fair market value, up to (d)(6)
Schedule A/B: 3.9 any applicable statutory limit
secription: — Exercise bike § 250.00 Qs 250.00 11 U.S.C. Section §22(d)(5)
Line from 3.9 C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
ae tion:  2Utomotive tools $ 250.00 3 250.00 11 U.S.C. Section 522(d)(5)

escipton; —§ Q 1009 - and 11 U.S.C. Section 522
Line from 3.9 100% of fair market value, up to (d)(6)
Schedule A/B: any applicable statutory limit
a0 oto: clothes $ 100.00 fs 400.00 11 U.S.C. Section 522(d)(3)
Line from C] 100% of fair market value, up to
Schedule A/B: 3.14 any applicable statutory limit
Bret ‘otion: casio watch § 25.00 Ws 25.00 11 U.S.C. Section 522(d)(3)

ese ; and 11 U.S.C. Section 522
Line from 3.42 LL] 100% of fair market value, up to (d)(5)
Schedule A/B:. any applicable statutory limit
foseription: Cash 5 31.00 Ws 31.00 11 U.S.C. Section 522(d)({5)
Line from 3.16 CL) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Seccription,  -22P9sits of money $ 204.00 ws 204.00 11 U.S.C. Section 522(d)(5)
Line from C) 100% of fair market value, up to
Schedule A/B: 3.17 any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: $ ig
Line from C] 100% of fair market value, up to
Schedule A/B: _ __any applicable statutory limit
Brief
description: $ is
Line from €) 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ mr
Line from CL} 100% of fair market value, up to

—_ any applicable statutory limit

Schedule A/B:

Official Form 106C

 

 

 

 

 

 

 

 

 

Schedule C: The Property You Claim as Exempt

page 2_ of __

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 23 of 67

Fill in this information to identify your case:

Thomas Hadley Baker

First Name Middle Name

Debtor 4

 

Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name
United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known)

 

() Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

1. Do any creditors have claims secured by your property?
C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

Cu List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor’s name.

 
 
  
   
   

  
 

_ Unsecured
portion. |

 

 

    
 

 

 

 

 

 

 

 

 

 

 

 

Creditor’s Name

1520 Logan Avenue

f-collateral. “Ifany.
[ 2.1] Wyoming Community Describe the property that secures the claim: $ 138,335.03 $ 160,000.00 $ 0.00
Creditors Name
Development Authority 2322 E. 10th St., Cheyenne, WY 82001
Number Street
P.O. Box 634 As of the date you file, the claim is: Check ail that apply.
O Contingent
Casper Wy 82602 (© unliquidated
City State ZIP Code a | Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
W Debtor 1 only Wf An agreement you made (such as mortgage or secured
QC) Debtor 2 only car loan)
(3 Debtor 1 and Debtor 2 only (2 Statutory lien (such as tax lien, mechanic's lien)
C1 Atleast one of the debtors and another CI Judgment tien from a lawsuit
OQ) other (including a right to offset)
(2 Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number 8 2 mu 2
| 2.2] Western Vista Federal CU Describe the property that secures the claim: $ 15,000.00 s 160,000.00 5 0.00

 

 

 

 

2322 E. 10th St., Cheyenne, WY 82001

 

 

 

 

Who owes the debt? Check one.

rf Debtor 1 only

CQ) debtor 2 only

C] Debtor 1 and Debtor 2 only

(] Atleast one of the debtors and another

QO) Check if this claim relates to a
community debt

Date debt was incurred

Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent

Cheyenne Wy 82001 CQ Unliquidated

City State ZIP Code

C) Disputed

Nature of lien. Check all that apply.

od An agreement you made (such as mortgage or secured
car loan)

Q Statutory lien (such as tax lien, mechanic's lien)

Oo Judgment lien from a lawsuit

C2 other (including a right to offset)

Last 4 digits of accountnumber_/ 0 6 3

 

 

Add the dollar value of your entries in Column A on this page. Write that number here:

p__153.419.00 |

 

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 2.
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 24 of 67

Thomas Hadley Baker

Debtor 1

Case number (if known)

 

First Name Middie Name

Last Name

 

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

by 2.4, and so forth.

  

‘collateral.

 

 

Column

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Western Vista Federal CU Describe the property that secures the claim: $ 23,000.00
Creditors Name
1520 Logan Avenue 2011 Ford F-150
Number Street
As of the date you file, the claim is: Check all that apply.
Cheyenne Wy 82001 ©) Contingent
City State ZIP Code (2 Untiquidated
QC) disputed
Who owes the debt? Check one. Nature of lien. Check al! that apply.
(A Debtor 1 only Wan agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
CQ) Debtor 1 and Debtor 2 only C) Statutory lien (such as tax lien, mechanic’s lien)
Cl Atleast one of the debtors and another CQ) Judgment lien from a lawsutt
Q Other (including a right to offset)
C) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber_7 0 6 3
L_| Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
C1 unliquidated
City State ZIP Code Q Disputed
2
Who owes the debt? Check one. Nature of lien. Check ali that apply.
O) Debtor 1 only C} An agreement you made (such as mortgage or secured
Q] Debtor 2 only car loan)
Q) Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic's lien)
(C) At least one of the debtors and another CQ Judgment lien from a lawsuit
i i i ff
() Check if this claim relates to a (2 other (including a right to offset)
community debt
Date debt was incurred Last4 digits of accountnumber_
L_| Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code C) Untiquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
Q debtor 4 only ( An agreement you made (such as mortgage or secured
C) debtor 2 only car loan)
QQ Debtor 1 and Debtor 2 only C] Statutory tien (such as tax lien, mechanic's lien)
C) At least one of the debtors and another CQ) Judgment lien from a lawsuit
Q} other (including a right to offset)
Q) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber
Add the dollar value of your entries in Column A on this page. Write that number here: |. 23,000.00
lf this is the last page of your form, add the dollar value totals from all pages. 176,335.03
; : S : :
_...____.Write that number here: se rrr

 

 

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page2_ of 2_

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 25 of 67

Debtor 4 Thomas Hadley Baker Case number (if known)
First Name Middle Name Last Name

 

 

ne List Others to Be Notified for a Debt That You Already Listed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1.. For.example, if a collection :
agency is trying to collect from you for a debt you owe to someone else, list the creditor.in Part 1, and then list the collection agency here. Similarly, if:
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccount number
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number __ oo
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
: Name Last 4 digits of account number _8_ 2 1 2
Number Street
City State ZIP Code
| On which fine in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___ oo
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code

 

 

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page of_
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 26 of 67

Fill in this information to identify your case:

Thomas Hadley Baker

Middle Name

Debtor 1

 

First Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

() Check if this is an

Case number amended filing

{If known)

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

12116

 

a List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?

4d No. Go to Part 2.
Q Yes.

 

 

 

 

 

 

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured Claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State

Who incurred the debt? Check one.

O) Debtor 1 only

OQ) debtor 2 only

(2 Debtor 1 and Debtor 2 only

(C Atleast one of the debtors and another

ZIP Code

Cl) Check if this claim is for a community debt

Is the claim subject to offset?

Ci No
QO) Yes

 

2.1
Last 4 digits ofaccountnumber_s ss CS. §, $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City Stale ZIP Code C1 Contingent
. Q Unliquidated
Who incurred the debt? Check one. a Disputed
C) Debtor 4 only
Cl} Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only (2 Domestic support obligations
At least one of the debtors and another (2 Taxes and certain other debts you owe the government
C1 Check if this claim is for a community debt (2 Claims for death or personal injury while you were
is the claim subject to offset? intoxicated
{) No C2 Other. Specify
QO) Yes
22 |

Last 4 digits of accountnumber =F gg $ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
C)} Contingent

Q} Unliquidated

a Disputed

Type of PRIORITY unsecured claim:
Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

O OOO

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of 8

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 27 of 67

Debtor 1 Thomas Hadley Baker

Case number (if known),

 

First Name Middle Name Last Name

 

Ci Your PRIORITY Unsecured Claims — Continuation Page

Priority Creditors Name

 

 

Number Street

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

City State ZIP Code

Who incurred the debt? Check one.

2 debtor 1 only

Q) Debtor 2 only

(J Debtor 1 and Debtor 2 only

(CD At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

CG No
CQ) Yes

 

Last 4 digits of account number ___ §. $ §

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
(2 Unliquidated
C) Disputed

Type of PRIORITY unsecured claim:

C2 Domestic support obligations
QO) Taxes and certain other debts you owe the government

QO) Claims for death or personal injury while you were
intoxicated

C1 other. Specify

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

Q) pebter 1 only

QO) Debtor 2 only

CY Debtor 1 and Debtor 2 only

(C) At least one of the debtors and another

) Check if this claim is for a community debt

is the claim subject to offset?

C) No
2 Yes

Last 4 digits of account number ___ $ $ $

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

OQ Contingent
Q Unliquidated
QO Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

O OOo

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

CQ Debtor 1 only

C) bebtor 2 only

(2 debtor 4 and Debtor 2 only

(C) At ieast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

CJ No
CQ) Yes

 

Last 4 digits of account number ___ §, $. §,

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

OQ Contingent
C2 Unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

 

O OOO

Other. Specify

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

pag__ of 8 _

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 28 of 67

Thomas Hadley Baker

First Name Middle Name

Debtor 4

 

Last Name

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

Case number (if known)

 

3. Do any creditors have nonpriority unsecured claims against you?

Yes

u claims. fill out the Continuation Page of Part 2.

ka | Capital One

Nonpriority Creditors Name

 

 

L} No. You have nothing to report in this part. Submit this form to the court with your other schedules.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a. 1 creditor has more than one
_-nonpriority unsecured claim, list the creditor separately foreach claim. For each claim listed, identify what type of claim it is. Do notlist claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nenpriority unsecured

 

Last 4 digits of accountnumber_O0 2 6 5

 

11,045.00

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

Wf Debtor 1 only

Q) Debtor 2 only

C) Debtor 4 and Debtor 2 only

C) Atleast one of the debtors and another

QO) Check if this claim is fora community debt

Is the claim subject to offset?

| No
QQ Yes

 

Q Contingent
a Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

wh Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts

QQ other. Specify

 

PO Box 30285 When was the debt incurred? 08/06/2013
Number Street
Salt Lake City UT 84130
City State ZIP Code As of the date you file, the claim is: Check all that apply.
QO Contingent
Who incurred the debt? Check one. (2 Untiquidated
a Debtor 1 only QO Disputed
C Debtor 2 only
Q) Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C Atieast one of the debtors and another C2 Student loans
O Check if this claim is for a community debt QQ) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? C1 Debts to pension or profit-sharing plans, and other similar debts
A No A other. Specify credit card
CQ Yes ,
4.2 Credit One Bank Last 4 digits of account number 8 _8 i _2 s__ 2,882.43
Nonpriority Creditors Name When was the debt incurred? 04) 03/2012
PO Box 98873
Number Street
Las Vegas NV 89193 As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO Contingent
Who incurred the debt? Check one. QO) unliquidated
a Debtor 1 only Q Disputed
UI Debtor 2 only f NONPRIORITY d claim:
CI Debter 4 and Debtor 2 only Type o unsecured claim:
OC) Atleast one of the debtors and another C) student toans
se ane 4 . C1 obligations arising out of a separation agreement or divorce
Q) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C1 Debts to pension or profit-sharing plans, and other similar debts
i No W other. Specity_credit card
QC) Yes
(*° | Department of Education/Navient Last 4 digits of account number _3 4 7 _4 374,309.15
Nonpriority Creditors Name When was the debt incurred? _08/30/2002 ee
PO Box 9635
Number Street
Wilkes Barre PA 18773 . _
Gay Sie TIP Gode As of the date you file, the claim is: Check all that apply.

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page3_ of 8_

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 29 of 67

Debtor 1 Thomas Hadley Baker

 

First Name Middle Name Last Name

Case number (if known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.4 iti
Eye Center of Northern Colorado Last 4 digits of accountnumber 37 7 9 3790.53
Nonpriority Creditors Name
Wh the debt i d?
1725 E. Prospect Rd. eniwas ine debt incurre
mune ne As of the date you file, the claim is: Check all that appt
. , s of the date you file, the : .
Ft. Collins co 80525 @ you ime, ine erat 12 feneck a inat apply
City State ZIP Code (2 Contingent
nliquidate
C) unliquidated
Who incurred the debt? Check one. (2 disputed
Y Debtor 1 only
C} Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only CO student loans
Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims .
C) debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? 0A other. Specity_ Medical debt
wa No
CQ Yes
5) , 6053
Lending USA Last 4 digits of accountnumber 6 O 5 3° $_ 3,920.99
Nonpriority Creditors Name
When was the debt incurred? 98/09/2016
PO Box 206536 nr
Number Street As of the date you file, the claim is: Check all that appt
s of the date you file, the claim ts: Check all that apply.
Dallas TX 75320 y ied
City State ZIP Code C2) Contingent
QO Unliquidated
Who incurred the debt? Check one. Q Disputed
Wf Debtor 1 only
U) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only (CQ Student toans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
OQ) Check if this claim is for a community debt you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? A otner. Specify_ personal loan
if No
QO Yes
4.6| 4934 g 10,886.91
Marcus by Goldman Sachs Last 4 digits of account number 4 9 9 4
Nonpriority Creditors Name
When was the debt incurred?
PO Box 45400
Number Steet As of the date you file, the claim is: Check all that appt
. s of the date you file, the claim is: Check all that apply.
Salt Lake City UT 84145 y pey
City State ZIP Code QO contingent
C} Unliquidated
Who incurred the debt? Check one. oO Disputed
| Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
(2 Debtor 4 and Debtor 2 only CO) student toans
C1 At teast one of the debtors and another CQ) Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not rep ort as priority claims .
(2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? wi Other. Specify_ personal loan
wi No
CQ Yes

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

page4 of 8
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 30 of 67

Debtor 4 Thomas Hadley Baker -

 

First Name Middle Name Last Name

| Part 2: List All of Your NONPRIORITY Unsecured Claims

Case number (if known),

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Do any creditors have nonpriority unsecured claims against you?
[J] No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds ¢ each claim. if a creditor has more s than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f youn fave. more than three nonpriority, unsecured
claims fill out the Continuation Page of Part 2.
ka | Merrick Bank Last 4 digits of accountnumber_6 9 5 2 3 288.06
Nonpriority Creditors Name 05/29/2014 5 S$ GOO
i ?
PO Box 9201 When was the debt incurred?
Number Street
Old Bethpage NY 11804
City State ZiP Code As of the date you file, the claim is: Check all that apply.
Q Contingent
Who incurred the debt? Check one. OQ unliquidated
4 Debtor 1 only O Disputed
Q] Debtor 2 only
CD Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C2 Atleast one of the debtors and another 3 student loans
QO Check if this claim is for a community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? QO) pebts to pension or profit-sharing plans, and other similar debts
1 No Other. Specity_credit card
QO Yes :
4.2 Navient Solutions, Inc. Last 4 digits of account number 3 4 és 4 s__/4,309.15__
Nonpriority Creditors Name When was the debt incurred? 08/30/2002
PO Box 9500
Number Street
Wilkes Barre PA 18773 As of the date you file, the claim is: Check all that apply.
City State ZIP Code O contingent
Who incurred the debt? Check one. CQ} Untiquidated
a Debtor 1 only Q Disputed
UI Debtor 2 only Type of NONPRIORITY dclai
Q) Debtor 4 and Debtor 2 only ype o unsecured Claim:
C) Atleast one of the debtors and another a Student loans
oe a . Q1 Obligations arising out of a separation agreement or divorce
C] Check if this claim is for a community debt that you did not report as priority claims
is the claim subject to offset? QC) debts to pension or profit-sharing plans, and other similar debts
w No (2 other. Specify
CQ Yes
a3 | Western Vista Federal Credit Union Last 4 digits of account number _7 0 6 3 40.000.00
Nonpriority Creditors Name . Se
When was the debt incurred?
PO Box 20105
Number Street
Cheyenne WY 82001 . ai
Gy Suis SIP Gode As of the date you file, the claim is: Check all that apply.
C) Contingent
Who incurred the debt? Check one. Q eh dated
nig
Wf Debtor 1 only Q Disputed
CQ) debtor 2 only
O) Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) at least one of the debtors and another
C) Student ioans
(I Check if this claim is fora community debt Q Obligations arising out of a separation agreement or divorce
. . that you did not report as priority claims
?
Ot ne claim subject to offset? QO Debts to pension or profit-sharing plans, and other similar debts
O ve other. Specify_unsecured vehicle deficiency
es

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

pageS_ of 8 __

 
Debtor 1

Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 31 of 67

Thomas Hadley Baker

 

First Name Middle Name Last Name

Case number (i known),

‘ese Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed b 4.5, and so forth.
4.4 ‘ai
Last 4 digits of accountnumber $
Nonpriority Creditors Name
When was the debt incurred?
Number Street . a
. As of the date you file, the claim is: Check all that apply.
City State ZIP Code CQ contingent
QO Unliquidated
Who incurred the debt? Check one. Q Disputed
C] Debtor 4 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only QQ) Student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
C] Check if this claim is for a community debt you did not report as priority claims a
OQ) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C) other. Specify
OQ] No
OQ] Yes
4.5 |
i Last 4 digits of accountnumber $
Nonpriority Creditors Name
, When was the debt incurred?
Numbe: Street
simmer ree As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q) contingent
(C) unliquidated
Who incurred the debt? Check one. Q bisputea
. (2 debtor 4 only
C} Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only Q] Student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
OQ) Check if this claim is for a community debt you did not report as priority claims
OG debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Ci other. Specify
OQ No ‘
C) Yes
[4.6] s
Last 4 digits of account number
Nonpriority Creditors Name
When was the debt incurred?
Numbe Street
amber ree As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
QC) unliquidated
Who incurred the debt? Check one. Q Disputed
J Debtor 1 only
() Debtor 2 only Type of NONPRIORITY unsecured claim:
() Debtor 1 and Debtor 2 only CI student loans
C1 Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
Q Check if this claim is for a community debt you did not report as priority claims _
OO) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C) other. Specify
CO No
QO Yes

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

pageS_ of 8 _
Case 8:19-bk-06127-RCT Doc1 | Filed 06/27/19 Page 32 of 67

Debtor 14 “Thomas Hadley Baker - . Case number (known)

First Name Middle Name Last Name

 

 

List Others to Be Notified About a Debt That You Already Listed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Bonded Adjusting Service, Inc. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3555 Stanford Rd. #105 Line 4.4 of (Check one): QO Part 1: Creditors with Priority Unsecured Claims
Number Street . 4 Part 2: Creditors with Nonpriority Unsecured Claims
: Last 4 digits of 3 7 7 9
Fort Collins CO 80525 as igits of accountnumber_9 ff of ov
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
: : Claims : :
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (2) Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber_
City State ZIP Code
5 On which entry in Part 1 or Part 2 did you list the original creditor?
| ame
Line of (Check one}: 0 Part 1: Creditors with Priority Unsecured Claims
i Number Street A : en
i CJ Part 2: Creditors with Nonpriority Unsecured
: Claims
City State ZIP Gode Last 4 digits of accountnumber

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page/_ of 8

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 33 of 67

Debtor 4 Thomas Hadley Baker

First Name Middle Name Last Name

Ea Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S. c. § 159,
Add the amounts for each type of unsecured claim.

Total -claims
from Part 1

~ Total claims
from Part 2

 

Official Form 106E/F

 

6a.

6b.
6c.

6d.

6e.

6h.

6i.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add ail other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6i.

6j.

Case number (if known).

 

 

 

 

 

 

Total claim
$ 0.00
$ 0.00
5 0.00
+5 0.00
§ 0.00
Total claim
§ 74,309.15
5 0.00
5 0.00 |
+5 42,813.92
3 117,123.07

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page8_ of 8

 
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Fill in this information to identify your case:

Debtor Thomas Hadley Baker

First Name Middle Name Last Name

 

Debtor 2
{Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Cc b eect
ifknown) C) Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/45

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
| No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract.or lease is for &

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

N
an

 

Name

 

Number Street

 

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page lof
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 35 of 67

Debtor1 | !homas Hadley Baker

First Name Middle Name Last Name

Case number (if known)

 

| | Additional Page if You Have More Contracts or Leases

22

 

Person or company with whom you have the contract or lease What the contract or lease is for :

 

Name

 

Number Street,

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

N

L

 

Name

 

Number Street

 

City State ZIP Code

 

N

| t

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ziIP Code

 

N

 

Name

 

Number Street

 

City State ZIP Code

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page. of__
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 36 of 67

Fill in this information to identify your case:

Debtor 4 Thomas Hadley Baker

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name . Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known)

 

 

 

amended filing

Official Form 106H
Schedule H: Your Codebtors 12/45

 

() Check if this is an

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people

are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and

case number (if known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

2 No
OQ) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

wi No. Go to line 3.
C2 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

~L No

CJ Yes. In which community state or territory did you live? . Fillin the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor a - ae Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
CQ) Schedule D, line
Name
QO) Schedule E/F, line
Number Street OQ) Schedule G, line
City State ZIP Code
3.2
C) Schedule D, line
Name
C) Schedule E/F, tine
Number Street CQ) Schedule G, line
City State ZIP Gode
3.3
(2 Schedule D, line
Name
QO) Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1of_

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 37 of 67

Debtor 1 Thomas Hadley Baker

 

First Name

 

 

Middle Name Last Name

 

S| Additional Page to List More Codebtors

Case number (ifknown)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column:2: The creditor to whom you owe the debt
=] Check all schedules that apply:
3

QO) Schedule D, line
Name —
CQ) Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code
|
Q) Schedule D, line
Name
Q) Schedule E/F, line
Number Street Q Schedule G, line ee
City State ZIP Code
a
CJ Schedule D, line
Name
C) Schedule E/F, line
Number Sireat CQ) Schedule G, fine
City State ZIP Code
|
() Schedule D, line
Name
Q) Schedule E/F, line
Number Slrest CQ) Schedule G, line
City State ZIP Code
|
C} Schedule D, line
Name —_—__
() Schedule E/F, line
Number Streat C) Schedule G, line
City State ZIP Code
=
Q) Schedule D, line
Name
CQ) Schedule E/F, line
Nomber Seat Q) ScheduleG, line
City State ZIP Code
|
Q) Schedule D, line
Name
(i Schedule E/F, line
Number Street QO] Schedule G, line
City State ZIP Code
a]
OQ) Schedule D, line
Name eens
C} Schedule E/F, line
Number Sheet C1 Schedule G, line
City State ZIP Code

 

Official Form 106H

Schedule H: Your Codebtors

page of_

 
Case 8:19-bk-06127-RCT

Me EM LICOleUr Ley eR Com (TEP AAR el 0 aa or hooh

Debtor 1 Thomas Hadley Baker

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First Name Middle Name

Debtor 2

Last Name

 

(Spouse, if filing} First Name Middle Name

United States Bankruptcy Court for the: Middle District of Florida

Case number

Last Name

 

(If known)

 

 

Official Form 106!
Schedule I: Your Income

Check if this is:
(J An amended filing
C} A supplement showing posipetition chapter 13

income as of the following date:

MM / DD/ YYYY

12/15

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

| Part 4: | Describe Employment

1. Fill in your employment
information.

If you have more than one job,
attach a separate page with
information about additional
employers.

Employment status

Include part-time, seasonal, or
self-employed work.

Occupation
Occupation may include student P

or homemaker, if it applies.
Employer's name

Employer's address

ra Give Details About Monthly Income

spouse unless you are separated.

 

Official Form 1061

Debtor 1

(2 Employed
i Not employed

Debtor 2 or non-filing spouse

CQ) Employed
Ci) Not employed

 

 

 

Number Street

Number Street

 

 

 

City State ZIP Code

How long employed there?

For Debtor 1

City State ZIP Code

Estimate monthly income as of the date you file this form. {f you have nothing to report for any line, write $0 in the space. Include your non-filing

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. if you need more space, attach a separate sheet to this form.

For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

 

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $
3. Estimate and list monthly overtime pay. 3. +8 0.00 + §
4. Calculate gross income. Add line 2 + line 3. 4. $ 0.00 $

 

 

Schedule |: Your Income

page 1

 

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 39 of 67

 

 

 

Debtor 1 Thomas Hadley Baker Case number (if known)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or.
oe non-filing spouse |
Copy lime 4 Were... cesessscssssssssscssssscssssscsssssssssssnuesevrssssessessnseseesesceseeesassessses +4. $ 0.00 $

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13. Do you expect an increase or decrease within the year after you file this form?

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. § 0.00 $
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $
5c. Voluntary contributions for retirement plans 5c. § 0.00 $
5d. Required repayments of retirement fund loans Sd. §$ 0.00 $
Se. Insurance 5e. $ 0.00 $
5f. Domestic support obligations 5f. $ 0.00 $
5g. Union dues 59. § 0.00 $
5h. Other deductions. Specify: 5h. +$ 0.00 +¢
_ 6. Add the payroll deductions. Add lines 5a + 5b + 5c+5d+5e+5f+5g+5h. 6. § 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total , $ 0.00 $
monthly net income. 8a. *
8b. Interest and dividends &b. §$ 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $
settlement, and property settlement. 8c. -
8d. Unemployment compensation 8d. $ 0.00 $
8e. Social Security 8e. §$ 0.00 $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: sf S., 0.00 $
8g. Pension or retirement income 8g. § 0.00 $
8h. Other monthly income. Specify: VA disability payments 8h. +5 140.00 +¢
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9] $ 140.00 $
10. Calculate monthly income. Add line 7 + line 9. 5 140.00] + § 5 440.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. RROD
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J. :
Specify: 11+ $ 0.00
|12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 440.00
| Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies 12. SEAN
Combined

monthly income

 

 

 

 

CI No.
Ud Yes. Explain: | expect an increase in income as | hope to become employed at some point.
Official Form 1061 Schedule !: Your Income page 2

 

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 40 of 67

Fill in this information to identify your case:

Debtor1  [homas Hadley Baker ent:
eerer First Name y Middle Name Last Name Check if this Is:

Debtor 2 te
(Spouse, if filing) First Name Middie Name Last Name C} An amended filing

(1 A supplement showing postpetition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: Middle District of Florida

Cece MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

4. Is this a joint case?

 

wi No. Go to line 2.
Cl] Yes. Does Debtor 2 live ina separate household?

1) No

 

() Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? w No
Dependent's relationship to Dependent’s | Does dependent live
Do not list Debtor 1 and Cl Yes. Fill out this information for Debtor 1 or Debtor 2 age | with you?
Debtor 2. each dependent... cscs
, | ONo
Do not state the dependents io
names. | Yes
| QO No
QC) Yes
CP No
C) Yes
L] No
QC) Yes
CI No
CI Yes
3. Do your expenses include w No

expenses of people other than
yourself and your dependents? C1 Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule [: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and § 842.00
i any rent for the ground or lot. 4. rrr

If not included in line 4:
4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. § 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 250.00
4d. Homeowner's association or condominium dues 4d. § 0.00

Official Form 106J Schedule J: Your Expenses page 1
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 41 of 67

 

 

   

 

 

 

 

 

 

Debtor 1 Thomas Hadley Baker Case number (if known),
First Name Middie Name Last Name
Your expenses.
5. Additional mortgage payments for your residence, such as home equity loans 5. s____0.00
6. Utilities:
6a. . Electricity, heat, natural gas 6a. $ 200.00
6b. Water, sewer, garbage collection 6b. $ 47.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6. §, 64.00
6d. Other. Specify: 6d. 0.00
_ 7, Food and housekeeping supplies 7. $ 400.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 25.00
40. Personal care products and services 10. $ 0.00
44. Medical and dental expenses 1. = § 0.00
12. Transportation. Include gas, maintenance, bus or train fare. $ 400.00
Do not include car payments. 12,
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. 100.00
14. Charitable contributions and religious donations 14. $ _ 0.00
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. § 0.00
15b. Health insurance 15b.  §$ 0.00
- 4c. Vehicle insurance 18, $ 275.00
15d. Other insurance. Specify: isd. § 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: te. $9.00
17. installment or lease payments:
17a. Car payments for Vehicle 1 17a. §$ 504.00
17b. Car payments for Vehicle 2 17. § 0.00
17c. Other. Specify: 17. § 0.00
17d, Other. Specify: 17d $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
i your pay on line 5, Schedule |, Your Income (Official Form 1061). 18. $ 0.00
i19. Other payments you make to support others who do not live with you.
Specify: 19. § 0.00
'20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.
20a. Mortgages on other property 20a. § 0.00
20b. Real estate taxes 20. § 0.00
20c. Property, homeowner's, or renter’s insurance 20c. § 0.00
20d. Maintenance, repair, and upkeep expenses 20d. § 0.00
20e. Homeowner's association or condominium dues 206. § 0.00

Official Form 106J Schedule J: Your Expenses page 2
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 42 of 67

Debtor 1 Thomas Hadley Baker Case number (if known},

 

First Name Middie Name Last Name

21. Other. Specify:

 

LI No.

 

 

 

 

 

 

 

 

 

21. +5 0.00
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. | ¢ 3,107.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 3,107.00
23. Calculate your monthly net income. 140.00
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ -
23b. Copy your monthly expenses from line 22c above. 23d. —§ 3,107.00
23c. Subtract your monthly expenses from your monthly income.
y ° y exp ° y' y $ -2,967.00
The result is your monthly net income. 23c.
24, Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
id Yes. Explain here: | will no longer have expenses associated with house in Wyoming.
Official Form 106J Schedule J: Your Expenses page 3

 

 

 
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Fill in this information to identify your case:

Debtor 1 Thomas Hadley Baker

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number
(if known)

 

 

() Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 4215

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Wf No

Q) Yes. Name of person. . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penaity of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

_ X /s/ Thomas Hadley Baker x
: Signature of Debtor 1 Signature of Debtor 2

 

 

pate 06/27/2019 Date

MM/ DD / YYYY MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 44 of 67

PMU eM ieee meme (crtl tia ae e Laer: cin

Debtor 4 Thomas Hadley Baker

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number .
(if known) (J Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

| Part 1: | Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

CI Married
wi Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

CJ No

wt Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

       

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Dates Debtor1 Debtor Dates Debtor 2
: lived there ee Ss lived there
C} same as Debtor 1 UL) same as Debtor 1
2322 E. 10th St. From From
Number Street Number Street
To To
Cheyenne WY 82001
City State ZIP Code City State ZIP Code
(2 same as Debtor 1 CJ same as Debtor 4
From From :
Number Street Number Street :
To _ To :
City State ZIP Code City State ZIP Code
| 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property

States and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

C) No
wt Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

EZ Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 
Case 8:19-bk-06127-RCT Doc1 Filed 06/27/19 Page 45 of 67

Debtor1 | homas Hadley Baker

Case number (known).
First Name Middie Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

QI No
0 Yes. Fill in the details.

 

   

Sources of income Gross income Sources of income Gross income
Check ail that apply. (before deductions and eck all that apply. (before deductions and

     

 

 

exclusions) exclusions)

From January 1 of current year until Ol pages. commissions, $ 0.00 O pages. commissions,
the date you filed for bankruptcy: nuses, Ups ooo Onuses, lips

| Operating a business Q Operating a business

. wi Wages, commissions, O Wages, commissicns,

For last calendar year: bonuses, tips $ 19,615.00 bonuses, tips $

(January 1 to December 31,2018) ~ Operating a business Q) Operating a business

For the calendar year before that: wi Wages, commissions, Q Wages, commissions,
bonuses, tips $ 49 500.00 bonuses, tips

(January 1 to December 31,2017 (CI operating a business = | 79 Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

CI No
(dl Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. each source
: 2) (before deductions and iB (before deductions and
exclusions) . exclusions)
From January 1 of current year until VA disability __ g____———8 40.00
the date you filed for bankruptcy: $
$

For last calendar year: VA disability $ 1,496.00 $
(January 1 to December 31,2018)

YYYY
For the calendar year before that:
(January 1 to December 31,2017

YYYY

$
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
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Debtor 1 Thomas Hadley Baker Case number (if known),

First Name Middie Name Last Name

ar List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
C} No. Neither Debtor 4 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.” ;
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

(2 No. Go to line 7.

CJ Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

“i Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

W No. Go to line 7.

C) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

Dates of Total amount paid ‘Amount you still. owe Was this payment for...
payment
= $ $ Q Mortgage
Creditors Name
Q) Car
Number Street ‘ . CU credit card

 

Q Loan repayment

 

Q Suppliers or vendors

 

 

 

 

 

 

 

City State Zip Code (2 other
§ § ) Mortgage
Creditor’s Name
CQ) car

CU credit card

 

Number Street
O Loan repayment

 

Q Suppliers or vendors

 

 

 

 

 

 

 

City State ZIP Code C) other
$ $. a Mortgage
Creditors Name
Ql car

Q Credit card

 

Number Street
Q Loan repayment

 

Q Suppliers or vendors

 

| a
City State ZIP Code Other

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
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Debtor 1 Thomas Hadley Baker

Case number (known)
First Name Middle Name Last Name

 

 

| 7. Within4 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

| Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
: agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

a1) No

C) Yes. List all payments to an insider.

 

 

 

 

 

 

 

Dates of © Total amount Amount you still. Reason for this payment
payment "paid owe
$ $
Insider's Name
Number Street
City State ZIP Code
$ $

 

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

 

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
Include payments on debts guaranteed or cosigned by an insider.

W No

() Yes. List all payments that benefited an insider.

: Dates of Total amount Amount you still, Reason for this payment

payment paid owe Include creditor's name

 

 

 

 

 

 

 

 

- $ $
Insider's Name
Number Street
City State ZIP Code
$ $

 

insider's Name

 

Number Street

 

 

 

oY ccnoewensmaoninemsnnnaiinnace te, ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 

 
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Debtor 1 Thomas Hadley Baker

Case number (if known),
First Name Middle Name Last Name

 

ar Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

Wi No

(2 Yes. Fill in the details.

Nature of the case Court or agency 2 Status of the case

 

 

 

 

 

 

 

 

 

 

Case title Court Name Q Pending
Q on appeal
Number Street O Concluded
Case number
City State ZIP Code
Casetile Court Name Q) Pending
Q on appeal
Number Street (J concluded
Case number
City : State ZIP Code

 

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

wt No. Go to line 11.
_[) Yes. Fill in the information below.

   

Describe the property Date

 

 

 

 

 

 

 

 

 

 

 

coy Value of the property
= $
Creditors Name
Number — Street Explain what happened
QO Property was repossessed.
Ll Property was foreclosed.
U Property was gamished.
City State ZIP Code L] Property was attached, seized, or levied.
Describe the property Date Value of the property
$

 

 

Creditors Name

 

 

 

Number Street :
Explain what happened

Property was repossessed.

 

Property was foreclosed.

 

ay Sikes Zp Code Property was garnished.

oooo

Property was attached, seized, or levied.

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 
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Debtor 1 Thomas Hadley Baker Case number ¢f known)

First Name Middle Name Last Name

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

Wi No

() Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

_ Describe the action the creditor took : Date action _ Amount
one ae “was taken
Creditors Name es
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

(i No

QO) Yes

Ea List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

i No

(2 Yes. Fill in the details for each gift.

 
   

Gifts with ; : ‘Dates you gave Value

    

 

 

 

 

 

 

 

 

 

 

 

 

 

3 value of more than $600
per person : _ the gifts
$.
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person : the gifts
5
Person to Whom You Gave the Gift
5
Number Street
City State ZIP Code
Person's relationship to you

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 
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Debtor 1 Thomas Hadley Baker Case number (known)
First Name Middle Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
wi No

Cl Yes. Fill in the details for each gift or contribution.

Gifts or contributions to ) charities Describe what you contributed

 

 

 

Date you Value
» that total more than $600 contributed .
. —_——— 5
Charity’s Name
$.

 

Number Street

 

 

City State ZIP Code

 

 

List Certain Losses

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Mf No

C) Yes. Fill in the details.

   
 

   

 

 

scribe the property you lost and Describe any insura nce coverage for the loss

the loss occurred

 

Date of your Value of property
loss lost:
Include the amount that insurance has paid. List Pending in ins ance

claims on line 33 of Schedule A: Property.

 

 

 

 

 

 

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
Ci} No
Wf Yes. Fill in the details.

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment

Rywant, Alvarez, Jones, Russo transfer was ;

Person Who Was Paid i made

109 N. Brush St., Suite 500 Bankruptcy court filing fee - $335.00

Number Street Attorney fee - $1,500.00 04/24/2019 $ 1,835.00

—_ $

Tampa FI 33602

City State ZIP Code

rywantalvarez.com

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
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Debtor 1 Thomas Hadley Baker

Case number (i known)
First Name Middle Name Last Name

 

 

: Date payment or Amount | f :
-transferwas made paymen

: Description and value of any p 5

  

perty transferred

   
    

 

American Consumer Credit

 

 

 

 

Person Who Was Paid Pre-filing credit counseling
13575 58th St, N. #131 o6/1e/2019 — s__39.00
Number Street
$.
Clearwater Fl 33760
City State ZIP Code

www.consumercredit.com
Email or website address

 

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

WM No

C2 Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date payment or _ Amount of payment
: ‘ . transfer was.
‘made :
Person Who Was Paid
$
Number Street
$
City State ZIP Code

 

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
wf No

C) Yes. Fill in the details.

Description and value of property Describe any property or payments rec ived Date transfer
transferred or debts paid in exchange BS was made

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person's relationship to you

 

 

Person Who Received Transfer

 

Number Street

 

 

 

City State ZIP Code

 

 

 

Person’s relationship to you

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
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Debtor 1 Thomas Hadley Baker Case number (# known)

First Name Middle Name Last Name

 

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

i No

CI Yes. Fill in the details.

Description and value of the property transferred oe : o Date transfer
HEE = ae S - was made

 

Name of trust

 

 

 

 

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

WW No

CJ Yes. Fill in the details.

 

 

 

 

 

 

 

 

Last 4 digits of account number Type of account or. :. Date account was Last balance before
es instrument “oo. -Glosed, sold;moved, closing or transfer
eee “2-0! - or transferred oe
Name of Financial Institution
XXXX— CI checking $
Number Street Q Savings
Q Money market
Q) Brokerage
City State ZIP Code a] Other
XXXX=___ C) checking _ $
Name of Financial Institution
Q Savings
Number Street QO Money market

OQ Brokerage
QO Other.

 

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

| No
CI Yes. Fill in the details.

Who else had access to it? Describe the ‘contents oS Do you still

 

 

 

 

 

 

 

 

 

 

 

have it?
O No
Name of Financial Institution Name Q Yes
Number Street Number Street
City State ZIP Code
City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 
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Debtor 4 Thomas Hadley Baker Case number (if known),

First Name Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No ,
CQ) Yes. Fill in the details.

 

 

 

Who else has or had access to it? "Describe the contents S : Do you still
: oe : S have it?
i
L) No
Name of Storage Facility Name . : tl Yes
Number Street Number Street

 

CityState ZIP Code

 

 

 

City State ZIP Code

 

 

Identify Property You Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
No
C] Yes. Fill in the details.

Where is the property? Describe the property Value

 

 

Owner's Name $

 

Numb Street
Number Street

 

 

 

 

 

City State ZIP Code
City State ZIP Code

Eo Give Detalis About Environmental Information

For the purpose of Part 10, the following definitions apply:

 

 

& Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

& Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

& Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

CL] Yes, Fill in the details.

 

 

 

 

 

Governmental unit a : Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code

 

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 
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Debtor 1 Thomas Hadley Baker Case number (if known)

First Name Middle Name Last Name

 

 

25. Have you notified any governmental unit of any release of hazardous material?

Mf No

CJ Yes. Fill in the details.

 

 

 

 

 

 

Governmental unit “2. Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

City State ZIP Code

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

C) Yes. Fill in the details.

 

 

 

 

 

 

Court or agency ce Nature of the case Status of the
Case title
Court Name O Pending
. Ql On appeal
Number Street CQ) concluded
Case number City State ZIP Code

 

 

fou Give Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
C) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C) A member of a limited liability company (LLC) or limited liability partnership (LLP)
Oa partner in a partnership
CQ) An officer, director, or managing executive of a corporation

C) An owner of at least 5% of the voting or equity securities of a corporation

wi No. None of the above applies. Go to Part 12.
Cl Yes. Check all that apply above and fill in the details below for each business. _
Describe the nature of the business Employer Identification number
e Do not include Social Security number or ITIN.

 

 

Business Name

EIN: -

 

Number Street

 

Name of accountant or bookkeeper Dates business existed

 

 

From To

 

 

City State ZIP Code

 

Describe the nature of the business Employer Identification number
: Do not include Social Security number or ITIN.

 

 

Business Name

 

 
 

 

Number Street = 2
Name of accountant or bookkeeper Dates business existed

 

 

From To

 

 

 

 

City State ZIP Code

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
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Debtor 1 Thomas Hadley Baker

First Name Middle Name Last Name

Case number (i known),

 

 

  
   
 

ber
ity number or ITIN,

Employer identification n

“Describe the nature of the business :
: Do not include Social S

 

 

 

 

 

 

 

 

Business Name
EIN: ee
r Street ce : a . :
Number Stree _ Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code

 

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Wd No

L) Yes. Fill in the details below.

-Date issued

 

Name MMIDDIYYYY

 

Number Street .

 

 

City State ZIP Code

Pact 42: Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

x /s/ Thomas Hadley Baker x
Signature of Debtor 1 Signature of Debtor 2
Date 06/27/2019 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

wi No
CQ) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
wf No

Cl Yes. Name of person. . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
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Fill in this information to identify your case:

Debtor 1 Thomas Hadley Baker

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number C) Check if this is an
{if known) amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 iz

 

If you are an individual filing under chapter 7, you must fill out this form if:

™@ creditors have claims secured by your property, or

m you have feased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

    

 

 

 

 

 

 

 

 

 

 

 

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.
_ Identify the creditor and the property that is collateral What do. you intend to do with the property that — Did you claim the property
S : ‘ secures adebt? ._ : as exempt on Schedule C?
Creditor’s . .
name: | Western Community Development Authorit Md Surrender the property. Wi No
~ (J Retain the property and redeem it. LI Yes
oon of 2322 E. 10th St. C) Retain the property and enter into a
securing debt: Cheyenne, WY 82001 Reaffirmation Agreement.
C] Retain the property and [explain]:
Creditor’s . . .
name: Western Visa Credit Union (A Surrender the property. 4 No
- ~~ C) Retain the property and redeem it. QO Yes
reper of 9399 E. 10th St. CJ Retain the property and enter into a
securing debt: Cheyenne, WY 82001 Reaffirmation Agreement.
Q) Retain the property and {explain]:
Creditor’s . : .
name. Western Visa Credit Union \ Surrender the property. A No
~ ~ ~~ morerenenaaemmens LY Retain the property and redeem it. OQ Yes :
orepetyy of 2041 Ford F-150 C2 Retain the property and enter into a
securing debt: Reaffirmation Agreement.
(J Retain the property and [explain]:
Creditor's () Surrender the property. Cl No
name: :
~ C) Retain the property and redeem it. Cl ves i
copay of C) Retain the property and enter into a
securing debt: Reaffirmation Agreement.
C2 Retain the property and [explain]:

 

 

 

 

Official Form 108 Statement of Intention for individuals Filing Under Chapter 7 page 1
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Debtor 4 Thomas Hadley Baker Case number (If known)

First Name Middle Name Last Name

a List Your Unexpired Personal Property Leases

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
Describe your unexpired personal property leases So : - | Will the lease be assumed?
' Lessor’s name: , , , CI No
QO
Description of leased ves
property:
Lessor’s name: CI No
Oy
Description of leased &s
property:
Lessors name: CI No
Description of leased Cl Yes
property:
Lessor’s name: : CI No
Q Yes
Description of leased
property:
Lessor's name: LI No
Cl Yes
Description of leased
property:
Lessor’s name: OINo
i C) Yes
Description of leased
property:
Lessor’s name: C] No
me se ss soc so ——" Dyes
Description of leased
property:

 

 

Sign Below

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

 

 

 

X /s/ Thomas Hadley Baker x
Signature of Debtor 1 Signature of Debtor 2
bate 06/27/2019 Date
MM/ DD 7 YYYY MM/ DDT? YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
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Ue ee Check one box only as directed in this form and in
Form 122A-1Supp:
Debtor 1 Thomas Hadley Baker

First Name Middle Name Last Name

wa 1. There is no presumption of abuse.

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name C] 2. The calculation to determine if a presumption of
: . a . abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: Middie District of Florida Means Test Calculation (Official Form 122A~2).

 

Case number (J 3. The Means Test does not apply now because of
(lf known) ; qualified military service but it could apply later.

 

 

Q) Check if this is an amended filing

Official Form 122A—1

 

Chapter 7 Statement of Your Current Monthly Income 12/45

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Staternent of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

| Part 4: | Caiculate Your Current Monthly Income

 

1. What is your marital and filing status? Check one only.
i Not married. Fill out Column A, lines 2-11.
(J Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
(J married and your spouse is NOT filing with you. You and your spouse are:
QO Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

C} Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).

je ‘monthly income that you received from all sources, derived during the 6 full mon fore you file this
1U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would:be March 1 through

 

        

     

bankruptcy case.
August 31. If the amount of your monthly income: varied during the 6.months, add the income for all 6 months and divide the total by 6.
Fillin the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property i in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 ‘Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions 0.00
(before ail payroll deductions). $__ V0 $

3. Alimony and maintenance payments. Do not include payments from a spouse if 0.00
Column B is filled in. $s §

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not 0.00
filled in. Do not include payments you listed on line 3. § $

5. Net income from operating a business, profession, Debtor 4 Debtor 2

  
 

 

 

or farm .

Gross receipts (before all deductions) $B

Ordinary and necessary operating expenses - $ ~$§

Net monthly income from a business, profession, or farm g 0.00 g¢ roel $ 0.00 $
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $ $

Ordinary and necessary operating expenses —~$ -$

Net monthly income from rental or other real property g 0.00 g roPyy, $ 0.00
7. Interest, dividends, and royalties $ 0.00

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
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Debtor 1 Thomas Hadley Baker Case number (if known).
First Name Middle Name Last Name : :
Column'A Column .B
Debtor 1 Debtor 2:or
nor-filing spouse

8. Unemployment compensation $ 0.00 $

Do not enter the amount if you contend that the amount received was a benefit

under the Social Security Act. Instead, list it here: eeeessesees

For you $.
For your spouse. $

9. Pension or retirement income. Do not include any amount received that was a

benefit under the Social Security Act. $ 0.00 5
10. Income from all other sources not listed above. Specify the source and amount.

Do not include any benefits received under the Social Security Act or payments received

as a victim of a war crime, a crime against humanity, or international or domestic

terrorism. If necessary, list other sources on a separate page and put the total below.

VA disability - 10% impairment 139.00
Total amounts from separate pages, if any. +$ +g

11. Calculate your total current monthly income. Add lines 2 through 10 for each ~~

column. Then add the total for Column A to the total for Column B. g 139.00 $ “Ig 139.00

 

13.

14.

 

 

 

 

 

 

 

hy Determine Whether the Means Test Applies to You -

12. Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from line 11.

 

Multiply by 12 (the number of months in a year).

12b. The result is your annual income for this part of the form.

Calculate the median family income that applies to you. Follow these steps:

 

Fill in the state in which you live. Florida

 

 

Fill in the number of people in your household. one

 

 

 

 

Fill in the median family income for your state and size of household.

To find a list of applicable median income amounts, go online using the link specified in the separate

instructions for this form. This list may also be available at the bankruptcy clerk’s office.

How do the lines compare?

14a. MM Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.

Go to Part 3.

Copy line 11 here>

12b,

13.

Total current
monthly income

$___ 139.00

x 12

 

 

$ 49,172.00

 

 

4b.) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

Go to Part 3 and fill out Form 122A~2.

Ea Sign Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

 

 

X /s/ Thomas Hadley Baker x
Signature of Debtor 1 Signature of Debtor 2
pate 06/27/2019 Date
MM/ DD /YYYY MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked line 714b, fill out Form 122A~2 and file it with this form.

 

Official Form 122A-1

Chapter 7 Statement of Your Current Monthly Income

page 2

 
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.
§ 101(8) as “incurred by an individual
primarily for a personal, family, or
household purpose.”

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are
available to individuals

Individuals who meet the qualifications may file
under one of four different chapters of the
Bankruptcy Code:

u Chapter 7 — Liquidation

# Chapter 11-—~ Reorganization

= Chapter 12— Voluntary repayment plan
for family farmers or
fishermen

 

Chapter 13— Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

 

$245 filing fee

$75 administrative fee

+ $15 __ trustee surcharge
$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their
debts and who are willing to allow their non-
exempt property to be used to pay their
creditors. The primary purpose of filing under
chapter 7 is to have your debts discharged. The
bankruptcy discharge relieves you after
bankruptcy from having to pay many of your
pre-bankruptcy debts. Exceptions exist for

- particular debts, and liens on property may still

be enforced after discharge. For example, a
creditor may have the right to foreclose a home
mortgage or repossess an automobile.

However, if the court finds that you have
committed certain kinds of improper conduct
described in the Bankruptcy Code, the court
may deny your discharge.

You should know that even if you file

chapter 7 and you receive a discharge, some
debts are not discharged under the law.
Therefore, you may still be responsible to pay:

 

most taxes;
most student loans;

= domestic support and property settlement
obligations;

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 1
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& most fines, penalties, forfeitures, and
criminal restitution obligations; and

certain debts that are not listed in your
bankruptcy papers.

You may also be required to pay debts arising
from:

@ fraud or theft;

fraud or defalcation while acting in breach
of fiduciary capacity;

@ intentional injuries that you inflicted; and

death or personal injury caused by
operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or
drugs.

If your debts are primarily consumer debts, the
court can dismiss your chapter 7 case if it finds
that you have enough income to repay
creditors a certain amount. You must file
Chapter 7 Statement of Your Current Monthly
Income (Official Form 122A-~1) if you are an
individual filing for bankruptcy under

chapter 7. This form will determine your
current monthly income and compare whether
your income is more than the median income
that applies in your state.

If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means
Test Calculation (Official Form 122A—2).

If your income is above the median for your
state, you must file a second form —the
Chapter 7 Means Test Calculation (Official
Form 122A-2). The calculations on the form—
sometimes called the Means Test—deduct
from your income living expenses and
payments on certain debts to determine any
amount available to pay unsecured creditors. If

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income
for your state of residence and family size,
depending on the results of the Means Test, the
U.S. trustee, bankruptcy administrator, or
creditors can file a motion to dismiss your case
under § 707(b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your
case should be dismissed. To avoid dismissal,
you may choose to proceed under another
chapter of the Bankruptcy Code.

If you are an individual filing for chapter 7
bankruptcy, the trustee may sell your property
to pay your debts, subject to your right to
exempt the property or a portion of the
proceeds from the sale of the property. The
property, and the proceeds from property that
your bankruptcy trustee sells or liquidates that
you are entitled to, is called exempt property.
Exemptions may enable you to keep your
home, a car, clothing, and household items or
to receive some of the proceeds if the property
is sold.

Exemptions are not automatic. To exempt
property, you must list it on Schedule C: The
Property You Claim as Exempt (Official Form
106C). If you do not list the property, the
trustee may sell it and pay all of the proceeds
to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee
+ $550 administrative fee
$1,717 total fee

Chapter 11 is often used for reorganizing a
business, but is also available to individuals.
The provisions of chapter 11 are too
complicated to summarize briefly.

page 2
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Read These Important Warnings

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Under chapter 13, you must file with the court
a plan to repay your creditors all or part of the
money that you owe them, usually using your
future earnings. If the court approves your
plan, the court will allow you to repay your
debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits 5 years, depending on your income and other
family farmers and fishermen to repay their factors.

debts over a period of time using future
earnings and to discharge some debts that are
not paid.

Chapter 12: Repayment plan for family
farmers or fishermen

$200 _ filing fee.
+ $75 administrative fee
$275 total fee

 

After you make all the payments under your
plan, many of your debts are discharged. The
debts that are not discharged and that you may
still be responsible to pay include:

 

Chapter 13: Repayment plan for m= domestic support obligations,

individuals with regular ” most student loans,
income

 

certain taxes,
= © debts for fraud or theft,

 

$235 filing fee
+ $75 administrative fee
$310 total fee

m= debts for fraud or defalcation while acting
in a fiduciary capacity,

most criminal fines and restitution

Chapter 13 is for individuals who have regular obligations,
income and would like to pay all or part of = certain debts that are not listed in your
their debts in installments over a period of time bankruptcy papers,

and to discharge some debts that are not paid.
You are eligible for chapter 13 only if your

debts are not more than certain dollar amounts .
set forth in 11 U.S.C. § 109 ® certain long-term secured debts.

certain debts for acts that caused death or
personal injury, and

 

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 3
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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code —
_requires that you promptly file detailed information
about your creditors, assets, liabilities, income,
expenses and general financial condition. The
court may.dismiss your bankruptcy case if you do
not file this information within the deadlines set by
the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

For more information about the documents and
their deadlines, go to: eS
htto://www.uscourts.gov/forms/bankruptcy-forms

 

 

Bankruptcy crimes have serious
consequences

@ Ifyou knowingly and fraudulently conceal
assets or make a false oath or statement
under penalty of perjury—either orally or
in writing—in connection with a
bankruptcy case, you may be fined,
imprisoned, or both.

« All information you supply in connection
with a bankruptcy case is subject to
examination by the Attorney General acting
through the Office of the U.S. Trustee, the
Office of the U.S. Attorney, and other
offices and employees of the U.S.
Department of Justice.

Make sure the court has your
mailing address

The bankruptcy court sends notices to the
mailing address you list on Voluntary Petition
for Individuals Filing for Bankruptcy (Official
Form 101). To ensure that you receive
information about your case, Bankruptcy

Rule 4002 requires that you notify the court of
any changes in your address.

A married couple may file a bankruptcy case
together—called a joint case. If you file a joint
case and each spouse lists the same mailing
address on the bankruptcy petition, the
bankruptcy court generally will mail you and
your spouse one copy of each notice, unless
you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you
could receive from credit
counseling agencies

The law generally requires that you receive a
credit counseling briefing from an approved
credit counseling agency. 11 U.S.C. § 109(h).
If you are filing a joint case, both spouses must
receive the briefing. With limited exceptions,
you must receive it within the 180 days before
you file your bankruptcy petition. This briefing
is usually conducted by telephone or on the
Internet. .

In addition, after filing a bankruptcy case, you
generally must complete a financial
management instructional course before you
can receive a discharge. If you are filing a joint
case, both spouses must complete the course.

You can obtain the list of agencies approved to
provide both the briefing and the instructional
course from: http://www.uscourts.gov/services-
forms/bankruptcy/credit-counseling-and-debtor-
education-courses.

In Alabama and North Carolina, go to:
http://www-.uscourts. gov/services-
forms/bankruptcy/credit-counseling-and-
debtor-education-courses.

If you do not have access to a computer, the
clerk of the bankruptcy court may be able to
help you obtain the list.

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 4
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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
In re:
Thomas Hadley Baker
CHAPTER: 7
CASE NO:

Debtor,

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of
his/her knowledge.

Date: _ June 27, 2019 /s/ Thomas Hadley Baker
Thomas Hadley Baker
_ Signature of Debtor
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Thomas Hadley Baker
9601 Marblehead Ln.
New Port Richey, FL 34654

Matt Holtsinger

Rywant, Alvarez, Jones, Russo & Guyton, P.A.
109 N. Brush St., Suite 500

Tampa, FL 33602

Bonded Adjusting Service, Inc.
3555 Stanford, Rd. #105
Fort Collins, CO 80525

Capital One

Attn: Bankruptcy

PO Box 30285

Salt Lake City, UT 84130

Credit One Bank
PO Box 98873
Las Vegas, NV 89193

Department of Education/Navient
PO Box 9635
Wilkes Barre, PA 18773

Eye Center of Northern Colorado
1725 E. Prospect Rd.
Ft. Collins, CO 80525

Lending USA
PO Box 20536
Dallas, TX 75320

Marcus by Goldman Sachs
P.O. Box 45400
Salt Lake City, UT 84145

Merrick Bank
P.O. Box 9201
Old Bethpage, NY 11804-9001

Navient Solutions, Inc.
PO Box 9500
Wilkes Barre, PA 18773

Western Community Development Authority
PO Box 10100
Casper, WY 82602

Western Vista Federal Credit Union
P.O. Box 20105
Cheyenne, WY 82001-5198
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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
In re:
Thomas Hadley Baker
CHAPTER: 7
CASE NO:
Debtor,
/
DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that J am the
attorney for the above named debtor(s) and that compensation paid to me within one year
before the filing of the petition in bankruptcy, or agreed to be paid to me, for services

. rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection
with the bankruptcy case is as follows:
For legal services, I have agreed to accept................cceceeeeeeeee $ 1,500.00
Prior to the filing of this statement I have received.................. $ 1,500.00
Balance Due...... 0... cece cee ec ce cecneeecnceeeeeeneeeeeeeeaeeneeeeeaneeens $ 0.00
2. $ 335.00 of the filing fee has been paid.

”

5.

The source of the compensation paid to me was:

0 Debtor 0 Other (specify):

4,

The source of compensation to be paid to me is:

O Debtor 0 Other (specify):

5.

0) I have not agreed to share the above-disclosed compensation with any other person
unless they are members and associates of my law firm.

O I have agreed to share the above-disclosed compensation with a person or persons who
are not members or associates of my law firm. A copy of the agreement, together with a
list of the names of the people sharing in the compensation is attached.

In return for the above-disclosed fee, I have agreed to render legal service for all aspects
of the bankruptcy case, including:

a. Analysis of the debtor's financial situation, and rendering advice to the debtor in
determining whether to file a petition in bankruptcy; _
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b. Preparation and filing of any petition, schedules, statement of affairs and plan
which may be required;

c. Representation of the debtor at the meeting of creditors and confirmation hearing,
and any adjourned hearings thereof;

d. Exemption planning and representation concerning any contested matters that
may arise in connection with the Debtor’s claimed exemption; preparing and
filing any motions pursuant 522(f)(2)(A) necessary to avoid any liens on
household goods.

7. By agreement with the debtor(s), the above-disclosed fee does not include the following
service: Representation of the debtors in any dischargeability actions, judicial lien
avoidances, relief from stay actions or any other adversary proceeding.

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceeding.

 

June 15,2019  /s/ Matt Holtsinger
Date Matt Holtsinger, Esquire 092774

Rywant, Alvarez, Jones, Russo & Guyton, P.A.
109 N. Brush St., Suite 500

Tampa, Fl 33602

(813) 229-7007
mholtsinger(@rywantalvarez.com

 

Name of law firm
